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 8   Attorneys for Defendant
     RAMESH “SUNNY” BALWANI
 9
10                                UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                      Case No. 18-CR-00258-EJD

15                   Plaintiff,                     DECLARATION OF JEFFREY B.
                                                    COOPERSMITH RE: MR. BALWANI’S
16         v.                                       REPLIES IN SUPPORT OF HIS
                                                    MOTIONS IN LIMINE
17   RAMESH “SUNNY” BALWANI,

18                   Defendant.
                                                    Judge: Honorable Edward J. Davila
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                                                                        COOPERSMITH DECL RE: BALWANI
                                                                                     REPLIES ISO MILS
                                                                                     18-CR-00258-EJD
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 1                            DECLARATION OF JEFFREY B. COOPERSMITH

 2            I, Jeffrey B. Coopersmith, declare as follows:

 3            1.     I am lead counsel for defendant Ramesh “Sunny” Balwani in this case, an attorney

 4   admitted to practice in the State of California, and a partner at the law firm of Orrick, Herrington

 5   & Sutcliffe LLP. I submit this declaration in support of Mr. Balwani’s replies supporting his

 6   motions in limine. Attached to this declaration are exhibits cited in those responses. The exhibits

 7   are numbered consecutively from the exhibits supporting Mr. Balwani’s motions in limine

 8   (Dkt. 1156-1) and those supporting his responses to the government’s motions in limine

 9   (Dkt. 1179-1), and thus begin with Exhibit 51.
10            2.     Exhibit 51 is copy of transcript excerpts from the trial of Mr. Balwani’s co-

11   defendant Elizabeth Holmes, redacted under the Court’s protective order to conceal patient

12   names.

13            3.     Exhibit 52 is a copy of excerpts of the March 6, 2020 expert report of Dr. Stephen

14   Master, redacted under the Court’s protective order to conceal patient names.

15            4.     Exhibit 53 is a copy of excerpts from the January 25, 2016 CMS cover letter and

16   Form 2567 Survey Findings, Bates-stamped TS-0917883.

17            5.     Exhibit 54 is a copy of transcript excerpts from the January 29, 2020 deposition of

18   Sarah Bennett, Bates-stamped SEC-DEPO-001266.

19            6.     Exhibit 55 is a copy of a May 23, 2018 email from Mike Romeo to employees of
20   Theranos and its counsel, Bates-stamped WH000002070.

21            7.     Exhibit 56 is a copy of excerpts of an October 29, 2020 letter from Assistant

22   United States Attorney Robert Leach to counsel for the defense.

23            8.     Exhibit 57 is a chart reflecting portions of Dr. Kingshuk Das’ testimony in the

24   Holmes trial that Mr. Balwani believes constitute impermissible expert opinion.

25            9.     Exhibit 58 is a copy of Holmes Trial Exhibit 5704, a September 8, 2015 email

26   from Elizabeth Holmes to Rupert Murdoch.

27            10.    Exhibit 59 is a copy of Holmes Trial Exhibit 1106, a September 8. 2013 article in

28   the Wall Street Journal by Joseph Rago.
                                                                                 COOPERSMITH DECL. RE: BALWANI
                                                       1                                      REPLIES ISO MILS
                                                                                              18-CR-00258-EJD
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 1        I declare under penalty of perjury that the foregoing is true and correct.

 2        Executed December 13, 2021 at San Jose, California.

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 4                                                      s/Jeffrey B. Coopersmith
                                                        JEFFREY B. COOPERSMITH
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                                                    2                                      REPLIES ISO MILS
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